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                UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF NEW HAMPSHIRE

NATIONAL EDUCATION ASSOCIATION,
et. al,
                           Plaintiffs,
                                              No. 25-cv-00091-LM
v.
                                              AMICUS BRIEF OF STUDENTS
UNITED STATES DEPARTMENT OF                   FOR FAIR ADMISSIONS IN
EDUCATION, et. al,                            OPPOSITION TO PLAINTIFFS’
                          Defendants.         MOTION FOR PRELIMINARY
                                              INJUNCTION
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             STATEMENT OF INTEREST AND SUMMARY OF ARGUMENT
        Students for Fair Admissions is a nonprofit dedicated to defending human and civil rights

secured by law, including the right to be free from discrimination on the basis of race in higher-

education admissions. SFFA is a membership group of more than 20,000 students, parents, and others

who believe that racial classifications and preferences in college admissions are unfair, unnecessary,

and unconstitutional. SFFA was the plaintiff in the landmark case challenging the use of race in

admissions by Harvard College and the University of North Carolina. See Students for Fair Admissions,

Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181 (2023).

        SFFA has a strong interest in this case. Students for Fair Admissions is one of the most important

civil rights cases in the Supreme Court’s history. It reaffirmed one of our country’s “foundational

principle[s]—the absolute equality of all citizens of the United States politically and civilly before their

own laws.” Id. at 201 (cleaned up). The Court recognized that “the Constitution is color blind,” id. at

204, and that all “racial discrimination in public education”—including race-based admissions

programs practiced at many universities—is illegal under the Constitution and Title VI. Id. at 204, 230-

31. As the Court explained, “[d]istinctions between citizens solely because of their ancestry are by their

very nature odious to a free people whose institutions are founded upon the doctrine of equality.” Id.

at 208 (quoting Rice v. Cayetano, 528 U.S. 495, 517 (2000)). There is thus no room for “benign” racial

preferences: “Eliminating racial discrimination means eliminating all of it.” Id. at 206.

        The Department of Education has issued guidance documents—including a Dear Colleague

Letter and Frequently Asked Questions—that do nothing more than “explain[] and reiterate[] existing

legal requirements” after Students for Fair Admissions. Letter at 1 (Dkt. 34-3). These documents explain,

among other things, that all racial classifications are subject to “‘strict scrutiny.’” Id. at 2 (quoting

SFFA, 600 U.S. at 207). An individual’s race “‘may never be used against him’ and ‘may not operate

as a stereotype’ in governmental decision-making.” Id. (quoting SFFA, 600 U.S. at 218). And the only



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interest that is “sufficiently compelling in the educational context to justify race-based preferences [is]

‘remediating specific, identified instances of past discrimination that violated the Constitution or a

statute’ committed by the specific educational institution in question.” FAQ at 3 (quoting SFFA, 600

U.S. at 207), perma.cc/43EZ-ME6A. Nothing in these guidance documents should be controversial

after Students for Fair Admissions.

        Plaintiffs believe that Students for Fair Admissions was wrongly decided; that much is clear. At

the Supreme Court, the National Education Association filed an amicus brief in support of Harvard,

arguing that schools should be allowed to “take race into account in making decisions as to student

admissions, assignments, and/or transfers” to achieve “racial justice in education” and to overcome

“institutional racism.” Nat’l Educ. Ass’n Am. Brief at 1-2, SFFA v. Harvard, No. 20-1199. When the

decision was released, the NEA attacked the opinion as the product of an “out-of-touch and hyper-

conservative Supreme Court” that sought to “reinforc[e]” “barriers” against racial minorities. Press

Release, Nat’l Educ. Ass’n (June 29, 2023), perma.cc/TY8H-RN2E.

        Having lost at the Supreme Court, Plaintiffs have adopted a new tact: obtain a nationwide

injunction that prohibits the federal government from enforcing the decision. To obtain this relief,

the Plaintiffs engage in a wildly overblown misreading of the guidance documents. According to the

Plaintiffs, the guidance documents prohibit teachers from discussing books like Joseph Conrad’s Heart

of Darkness and Harper Lee’s To Kill a Mockingbird; from talking about “[t]exts and topics ... related to

gender roles”; and from having “conversations with students regarding race, diversity, and inclusion.”

Mot. 6-8. None of these assertions are remotely true. Search the guidance documents from front to

back: They do not say what the Plaintiffs say they say.

        Plaintiffs’ overblown fears have no basis in the text of the guidance documents. Their motion

should be denied.




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                                             ARGUMENT
        Plaintiffs’ lawsuit is badly flawed for all the reasons laid out by the United States. Plaintiffs

lack standing because neither the organizations nor their members are injured by the guidance

documents. They lack a cause of action because they do not challenge a final agency action. The

guidance documents do not violate the Administrative Procedure Act or infringe on anyone’s

constitutional rights. And the Plaintiffs fail on the equities. Their requested relief is especially

problematic. This Court cannot enjoin the enforcement of the nation’s civil rights laws over highly

speculative assertions of chilled speech.

        In this amicus brief, SFFA focuses on why the guidance documents (the Letter and the FAQ)

are in line with the Equal Protection Clause and Title VI. SFFA discusses the requirements of federal

law, and the implications of Students for Fair Admissions. SFFA then explains how the Letter and FAQ

accurately capture the state of the law. SFFA concludes by showing why Plaintiffs’ fears that the

enforcement of civil rights law will inhibit their ability to speak and teach freely are unjustified.

I.      Federal law prohibits racial discrimination in education.
        Under the Fourteenth Amendment to the United States Constitution, no State shall “deny to

any person ... the equal protection of the laws.” U.S. Const. amend. XIV, §1. The Equal Protection

Clause represents a “foundational principle—the absolute equality of all citizens of the United States

politically and civilly before their own laws.” SFFA, 600 U.S. at 201 (cleaned up). It provides “every

American citizen, without regard to color, the protecting shield of law.” Id. at 202 (cleaned up).

“[W]ithout this principle of equal justice, … there is no republican government and none that is really

worth maintaining.” Id. (cleaned up). “The broad and benign provisions of the Fourteenth

Amendment apply to all persons … ; it is hostility to race and nationality which in the eye of the law

is not justified.” Id. (cleaned up).

        Brown v. Board of Education proclaimed that the right to public education “must be made

available to all on equal terms.” 347 U.S. 483, 493 (1954). Brown and subsequent Supreme Court


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decisions “vindicate[d] the Constitution’s pledge of racial equality.” SFFA, 600 U.S. at 205. “These

decisions reflect the core purpose of the Equal Protection Clause: doing away with all governmentally

imposed discrimination based on race.” Id. at 206 (cleaned up).

        Enacted a decade after Brown, Title VI of the Civil Rights Act provides, “No person in the

United States shall, on the ground of race, color, or national origin, be excluded from participation in,

be denied the benefits of, or be subjected to discrimination under any program or activity receiving

Federal financial assistance.” 42 U.S.C. §2000d. “[D]iscrimination that violates the Equal Protection

Clause of the Fourteenth Amendment committed by an institution that accepts federal funds also

constitutes a violation of Title VI.” SFFA, 600 U.S. at 198 n.2 (quotation marks omitted). Thus, Title

VI extends the prohibition on racial discrimination contained in the Fourteenth Amendment to all

schools that receive federal funds, public and private. Id.

        Students for Fair Admissions built on Brown’s legacy, recognizing that “the Constitution is color

blind,” id. at 204, and that all “racial discrimination in public education”—including the race-based

admissions programs practiced at “[m]any universities”—is unconstitutional. Id. at 204, 230-31

(quotation marks omitted). SFFA held that both Harvard’s and the University of North Carolina’s use

of race in admissions violated the Equal Protection Clause and Title VI. Id. at 230. Both Harvard and

UNC used a multi-stage admissions process that considered an applicant’s race at every step of the

process, including the admissions decisions themselves. See id. at 192-97. SFFA sued Harvard and

UNC, arguing that their “race-based admissions programs violated” Title VI and the Fourteenth

Amendment. Id. at 197-98.

        In ruling for SFFA, the Court reiterated its precedent that any use of race in admissions “must

survive a daunting two-step … ‘strict scrutiny,’” and that “only two compelling interests” can justify

it: “remediating specific, identified instances of past discrimination that violated the Constitution or a

statute,” or “avoiding imminent and serious risks to human safety in prisons.” Id. at 206-07. Even with



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a compelling interest, “race-based state action” is permitted only “in the most extraordinary case.” Id.

at 208. The Court examined Harvard’s and UNC’s race-based admissions under this standard and held

that they failed it for multiple reasons. Id. at 213-25.

        First, Harvard and UNC failed to justify their consideration of race by identifying compelling

interests capable of being “subjected to meaningful judicial review.” Id. at 214. The Court rejected all

of Harvard’s and UNC’s asserted interests, including:

            •   “‘training future leaders in the public and private sectors,’”
            •   “preparing graduates to ‘adapt to an increasingly pluralistic society,’”
            •   “‘better educating its students through diversity,’”
            •   “‘producing new knowledge stemming from diverse outlooks,’”
            •   “‘promoting the robust exchange of ideas,’”
            •   “‘broadening and refining understanding,’”
            •   “‘fostering innovation and problem-solving,’”
            •   “‘preparing engaged and productive citizens and leaders,’”
            •   “‘enhancing appreciation, respect, and empathy,’”
            •   “‘cross-racial understanding,’” and
            •   “‘breaking down stereotypes.’”

Id. None of these goals was “sufficiently coherent for purposes of strict scrutiny.” Id.

        Second, Harvard and UNC did not justify their use of race by “articulat[ing] a meaningful

connection between the means they employ and the goals they pursue.” Id. at 215. Specifically, it was

not “evident … how assigning students to these racial categories and making admissions decisions

based on them furthers the educational benefits that the universities claim to pursue.” Id. at 216.

Harvard’s and UNC’s racial categories of “Asian” and “Hispanic,” for example, were too “imprecise”

and thus “undermin[e]” rather than “promot[e]” the Universities’ purported interests. Id. at 216-17.

        Third, Harvard and UNC “used [race] as a ‘negative’” factor in admissions. Id. at 218. Because

“[c]ollege admissions are zero-sum,” a “benefit provided to some applicants but not to others

necessarily advantages the former group at the expense of the latter.” Id. at 218-19. This violates the

Equal Protection Clause even if it impacts only “some … of the students they admit.” Id. at 219.



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        Fourth, Harvard and UNC used race “as a stereotype.” Id. at 218. “The point of [their]

admissions programs [was] that there is an inherent benefit in … race for race’s sake.” Id. at 220. For

example, “Harvard’s admissions process rest[ed] on the pernicious stereotype that ‘a black student can

usually bring something that a white person cannot offer,’” and UNC argued that “race in itself ‘says

[something] about who you are.’” Id.

        Fifth, Harvard’s and UNC’s use of race was a form of prohibited racial balancing. Id. at 221-

24. While Harvard and UNC did not identify strict numerical benchmarks of minority student

admissions, they sought “proportional representation” by seeking a “rough percentage of various

racial groups.” Id. Harvard’s admissions officers also would review aggregate admissions data

providing a “breakdown of applicants by race” during the admissions process so they could “‘trac[k]

how each class is shaping up relative to previous years.’” Id. at 194, 222.

        Sixth, Harvard’s and UNC’s use of race lacked a “‘logical end point.’” Id. at 221. It was

impossible to know when considering race was no longer necessary to obtain the “educational benefits

of diversity.” Id. at 224. Harvard and UNC couldn’t even identify a sunset date. Id. at 225. The Court

also rejected Harvard’s and UNC’s argument that “universities are ‘owed deference’” in their

determination that they must “us[e] race to benefit some applicants but not others.” Id. at 217. Harvard

and UNC could not simply say, “‘trust us,’” but needed to provide “an exceedingly persuasive

justification that is measurable and concrete enough to permit judicial review.” Id.

        In invalidating the Harvard and UNC admissions programs, the Court agreed with SFFA that

universities may consider “an applicant’s discussion of how race affected his or her life, be it through

discrimination, inspiration, or otherwise.” Id. at 230. But “universities may not simply establish

through application essays or other means the regime” the Supreme Court held unlawful. Id. “What

cannot be done directly cannot be done indirectly. The Constitution deals with substance, not




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shadows, and the prohibition against racial discrimination is levelled at the thing, not the name.” Id.

(cleaned up).

II.    The Letter and FAQ accurately reflect the prohibition on racial discrimination under
       the Equal Protection Clause and Title VI.
       The guidance documents issued by the Department of Education are fully in accord with the

Equal Protection Clause, Title VI, and the Supreme Court’s decision in Students for Fair Admissions.

       The Dear Colleague Letter. The Dear Colleague Letter does nothing more than “clarify and

reaffirm the nondiscrimination obligations of schools and other entities that receive federal financial

assistance from the United States Department of Education.” Letter at 1. Because the Plaintiffs distort

what the Letter actually says, SFFA identifies some of the key quotations:

           •    “‘[C]lassifying and assigning students based on their race’ is lawful only if it satisfies
                ‘strict scrutiny,’ which means that any use of race must be narrowly tailored—that is,
                ‘necessary—to achieve a compelling interest.” Letter at 2 (quoting SFFA, 600 U.S. at
                207).

           •    “[T]he Supreme Court has recognized only two interests as compelling in the context
                of race-based action: (1) ‘remediating specific, identified instances of past
                discrimination that violated the Constitution or a statute’; and (2) ‘avoiding imminent
                and serious risks to human safety in prisons, such as a race riot.’” Id. (quoting SFFA,
                600 U.S. at 207).

           •    “Nebulous concepts like racial balancing and diversity are not compelling interests….
                ‘[A]n individual’s race may never be used against him’ and ‘may not operate as a
                stereotype’ in governmental decision-making.’” Id. (quoting SFFA, 600 U.S. at 218)

           •    “Although SFFA addressed admissions decisions, the Supreme Court’s holding
                applies more broadly. At its core, the test is simple: If an education institution treats a
                person of one race differently than it treats another person because of that person’s
                race, the educational institution violates the law.” Id.

           •    Federal law “prohibits covered entities from using race in decisions pertaining to
                admissions, hiring, promotion, compensation, financial aid, scholarship, prizes,
                administrative support, discipline, housing, graduation ceremonies, and all other
                aspects of student, academic, and campus life. Put simply, educational institutions may
                neither separate or segregate students based on race, nor distribute benefits or burdens
                based on race.” Id.

           •    “[R]ace-based decisionmaking, no matter the form, remains impermissible.” Id.



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            •   “Relying on non-racial information as a proxy for race, and making decisions based
                on that information, violates the law. That is true whether the proxies are used to grant
                preferences on an individual basis or a systematic one. It would, for instance, be
                unlawful for an educational institution to eliminate standardized testing to achieve a
                desired racial balance or to increase racial diversity.” Id. at 3

            •   “Other programs discriminate in less direct, but equally insidious, ways. DEI
                programs, for example, frequently preference certain racial groups and teach students
                that certain racial groups bear unique moral burdens that others do not. Such programs
                stigmatize students who belong to particular racial groups based on crude racial
                stereotypes. Consequently, they deny students the ability to participate fully in the life
                of a school.” Id.

        The letter warns that educational institutions should “(1) ensure that their policies and actions

comply with existing civil rights law; (2) cease all efforts to circumvent prohibitions on the use of race

by relying on proxies or other indirect means to accomplish such ends; and (3) cease all reliance on

third-party contractors, clearinghouses, or aggregators that are being used by institutions in an effort

to circumvent prohibited uses of race.” Id.

        Frequently Asked Questions. The following month, the Department issued its Frequently

Asked Questions in order to “anticipate and answer questions that may be raised in response” to its

Dear Colleague Letter. FAQ at 1. The FAQ correctly explains that, under SFFA, “Title VI is

‘coextensive’ with the Equal Protection Clause of the Fourteenth Amendment. In other words,

discrimination based on race, color, or national origin by a public institution that violates the Equal

Protection Clause of the Fourteenth Amendment also violates Title VI if committed by a private

institution that accepts federal funds, and vice versa.” FAQ at 2. The FAQ reaffirms that race may

not be used as a “‘stereotype or negative’” factor, and that to provide a benefit to a person because of

the color of his or her skin in any “competitive or zero-sum process would necessarily disadvantage

those of a different race.” Id. at 2, 5 (quoting SFFA, 600 U.S. at 218). “Likewise, schools may not

administer scholarships, prizes, or other opportunities offered by third parties based on race.” Id. at




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5. To segregate students based on race, including by providing “programming, graduation ceremonies,

and housing,” is also a violation of Title VI. Id.

        Asking whether DEI programs are unlawful under SFFA, the FAQ makes clear that “whether

an initiative constitutes unlawful discrimination does not turn solely on whether it is labeled ‘DEI’ or

uses terminology such as ‘diversity,’ ‘equity,’ or ‘inclusion.’” FAQ at 6. OCR’s assessment of school

policies and programs “depends on the facts and circumstances of each case.” Id. Schools, of course,

“may not operate policies or programs under any name that intentionally treat students differently

based on race, engage in racial stereotyping, or create hostile environments for students of particular

races.” Id. But the FAQ does not prohibit teachings or instruction dealing with issues of race. For

example, “schools with programs focused on interests in particular cultures, heritages, and areas of

the world would not in and of themselves violate Title VI, assuming they are open to all students

regardless of race. Nor would educational, cultural, or historical observances—such as Black History

Month, International Holocaust Remembrance Day, or similar events—that celebrate or recognize

historical events and contributions, and promote awareness, so long as they do not engage in racial

exclusion or discrimination.” Id.

        In the FAQ, the Department also asked whether the Letter “mean[s] that students, teachers

and school employees may not discuss topics related to race or DEI under Title VI.” Id. The

Department explained that “[n]othing in Title VI or its implementing regulations authorizes a school

to restrict any rights otherwise protected by the First Amendment.” Id. Nor can the Department

“exercis[e] control over the content of school curricula.” Id. At the same time, schools have an

“obligation[] to refrain from creating hostile environments through race-based policies and

stereotypes” and to “respond to racial harassment that creates a hostile environment.” Id. Whether a

“racially hostile environment exists” depends on “the facts and circumstances of each case.” Id. For

example, “an elementary school that sponsors programming that acts to shame students of a particular



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race or ethnicity, accuse them of being oppressors in a racial hierarchy, ascribe to them less value as

contributors to class discussions because of their race, or deliberately assign them intrinsic guilt based

on the actions of their presumed ancestors or relatives in other areas of the world could create a

racially hostile environment, by interfering with or limiting the students’ ability to participate in or

benefit from the school’s program or activity.” Id. at 6-7.

III.    Plaintiffs badly misread the guidance documents.
        To try to establish standing, Plaintiffs manufacture fears that have no basis in any fair reading

of the guidance documents. For example, Plaintiffs fear that teaching “Heart of Darkness by Joseph

Conrad, ‘The White Man’s Burden’ by Rudyard Kipling, Beloved by Toni Morrison, and To Kill a

Mockingbird by Harper Lee, will subject them to accusations of discrimination because they address

themes of racism, colonialism, and/or imperialism.” Mot. 6. But teaching and discussing these books

obviously does not violate the Equal Protection Clause or Title VI. Everyday classroom instruction—

assuming it is “open to all students regardless of race”—would never “create[] a hostile environment

based on race.” FAQ at 6. Indeed, the FAQ explicitly says that the Department is prohibited from

“exercising control over the content of school curricula.” Id.

        Plaintiffs claim that the guidance documents “declare[] that anything [the Department] deems

DEI programming is unlawful on its face.” Mot. 30. But that is not what the guidance documents say.

“[W]hether an initiative constitutes unlawful discrimination does not turn solely on whether it is labeled

‘DEI’ or uses terminology such as ‘diversity,’ ‘equity,’ or ‘inclusion.’” FAQ at 6 (emphasis added).

Instead, the Department’s “assessment of school policies and programs depends on the facts and

circumstances of each case.” Id.

        Wholly absent from the Plaintiffs’ motion is the Department’s discussion of the practices they

are actually concerned with. The FAQ identifies the “extreme practices” that could create a hostile

environment under Title VI. They include:



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        •   “requiring students to participate in ‘privilege walks’ that are designed to make them feel
            guilty about being part of a certain race,”

        •   “segregating [students] by race for presentations and discussions with guest speakers,”

        •   “pressuring [students] to participate in protests or take certain positions on racially charged
            issues,”

        •   “investigating or sanctioning [students] for dissenting on racially charged issues through
            DEI or similar university offices,”

        •   “mandating courses, orientation programs, or trainings that are designed to emphasize and
            focus on racial stereotypes,” and

        •   “assigning [students] coursework that requires them to identify by race and then complete
            tasks differentiated by race.”

Id. at 7. Plaintiffs never claim to have any intention of undertaking these “extreme practices.” Nor do

the guidance documents prohibit programs that “help[] students develop healthy social, interpersonal,

and emotional skills.” Mot. 41. They identify conduct that deprive students of equal education

opportunities by treating students differently based on race.

        Plaintiffs claim that the guidance documents cause “schools and educators to question

unnecessarily whether they can consider students’ self expression” when making admissions decisions

because they “instruct[] against using students’ self-expression, including through essays and writing

samples, ‘as a means of determining or predicting a student’s race and favoring or disfavoring such

students.’” Mot. 21-22 (quoting Letter 2). But any “confusion” is entirely self-inflicted. Id. The

guidance also repeats the Supreme Court’s holding on essays: “‘[N]othing prohibits universities from

considering an applicant’s discussion of how race affected the applicant’s life, so long as that

discussion is concretely tied to a quality of character or unique ability that the particular applicant can

contribute to the university.’” FAQ at 8 (quoting SFFA, 600 U.S. at 230). Schools “‘may not simply

establish through application essays or other means the regime we hold unlawful today’” because

“‘[w]hat cannot be done directly cannot be done indirectly.’” Id. (quoting SFFA, 600 U.S. at 230).




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        Plaintiffs claim that the guidance documents are similar to “laws prohibiting teaching or

discussing concepts related to race, diversity or equity” at a university, which are “viewpoint

discriminatory.” Mot. 28. But the guidance documents make clear that mere discussions of issues of

race—especially at a university—will not be unlawful. FAQ at 7. It is the “extreme” practices that the

guidance documents call out as troubling, such as “accus[ing] [elementary school students] of being

oppressors in a racial hierarchy” or “ascrib[ing] to them less value as contributors to class discussions

because of their race.” FAQ at 6-7. Again, however, “[i]n all cases, the facts and circumstances of the

discussion or activity will dictate the answer to that inquiry.” Id. at 7. Moreover, Title VI prohibits only

“discrimination,” and it does not violate the First Amendment to punish speech incident to unlawful

conduct. “Where the government does not target conduct on the basis of its expressive content, acts

are not shielded from regulation merely because they express a discriminatory idea or philosophy.”

R.A.V. v. City of St. Paul, 505 U.S. 377, 390 (1992). Instead, even when an action is clearly expressive,

“it has never been deemed an abridgment of freedom of speech ... to make a course of conduct illegal”

because some speech might be caught up in the ban. Rumsfeld v. FAIR, 547 U.S. 47, 62 (2006) (cleaned

up). To take an example from the employment context, a ban on discrimination in hiring regulates

conduct, not speech, even though it “will require an employer to take down a sign reading ‘White

Applicants Only.’” Id.

        Indeed, instead of threatening protected speech, the Department goes out of its way to discuss

the importance of free speech, which is threatened when schools apply double standards based on race.

The FAQ explains that “schools must not discriminate against students based on race in how they

discipline or sanction students in response to complaints or allegations of harassment, or in response

to speech that would be protected under the First Amendment, whether through use of ‘bias response

teams,’ mandatory trainings, or compelled statements.” FAQ at 7. The guidance thus discusses the

rights of students of all races to speak their minds and to be free from being forced to express ideas



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that degrade themselves or others based on race. See Janus v. AFSCME, 585 U.S. 878, 893 (2018)

(“When speech is compelled, … individuals are coerced into betraying their convictions. Forcing free

and independent individuals to endorse ideas they find objectionable is always demeaning.”).

        Plaintiffs express particular concern about the Department’s criticisms of recent educational

teaching regarding race. See Letter at 2 (“Educational institutions have toxically indoctrinated students

with the false premise that the United States is built upon ‘systemic and structural racism’ and

advanced discriminatory policies and practices”). Plaintiffs argue that these statements will chill

teachers from addressing certain controversial topics related to race and gender in their classroom. See

Mot. 3, 7, 15, 23, 26-30. But Plaintiffs ignore the rest of the Letter and the FAQ, where the Department

provides its legal guidance on when educational practices violate Title VI and the Equal Protection

Clause. Moreover, to the extent the Department is expressing its own viewpoint on curriculum, it is free

to have one. “The Free Speech Clause restricts government regulation of private speech; it does not

regulate government speech.” Pleasant Grove City, Utah v. Summum, 555 U.S. 460, 467 (2009). Indeed,

judges have long been critical of these types of race-based practices. See, e.g., Grutter v. Bollinger, 539

U.S. 306, 349 (2003) (Scalia, J., concurring in part and dissenting in part) (criticizing “universities that

talk the talk of multiculturalism and racial diversity in the courts but walk the walk of tribalism and

racial segregation on their campuses—through minority-only student organizations, separate minority

housing opportunities, separate minority student centers, even separate minority-only graduation

ceremonies”).

                                            *        *        *

        The Department’s guidance documents are not vague or arbitrary documents that will trample

on the First Amendment rights of Americans in schools. The enforcement of civil rights in schools is

fully consistent with the right of free speech, and nothing in the Letter or FAQ creates an objectively

reasonable basis for schools or teachers to fear that the constitutionally protected expression of



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controversial viewpoints will cause them to lose federal funding or face discipline. Rather, the guidance

accurately reflects the requirements of the Equal Protection Clause and Title VI both before and after

the Supreme Court’s decision in Students for Fair Admissions.

                                           CONCLUSION
        For these reasons, the Court should deny Plaintiffs’ motion for preliminary injunction.




 Dated: April 14, 2025                               Respectfully submitted

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                                   CERTIFICATE OF SERVICE

       I certify that on April 14, 2025, I electronically filed the foregoing with the Clerk of the Court

using the Court’s ECF system, which will automatically send email notification to all counsel of record.



                                                   s/Richard J. Lehmann




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